

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-80,309-01






IN RE MARCUS EVERETTE HARPER, Relator



		




ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. 9409133-A &amp; 9411708-A 

IN THE 338TH DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he  contends that he  filed applications for writs of
habeas corpus in the 338th  District Court of Harris County, that more than 35 days have elapsed, and
that the applications have not yet been forwarded to this Court.  Relator contends that the district
court entered orders designating issues on February 17, 2010.

	Respondent, the Judge of the 338th District Court of Harris County, shall file a response with
this Court by having the District Clerk submit the records on such habeas corpus applications.  In
the alternative, Respondent may resolve the issues set out in the orders designating issues and then
have the District Clerk submit the records on such applications.  In either case, Respondent's answer
shall be submitted within 30 days of the date of this order.  This application for leave to file a writ
of mandamus will be held in abeyance until Respondent has submitted his response.


Filed: November 6, 2013

Do not publish	


